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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

)
MICHAEL T. DERZACK, ) Civil Action No.: 17-865
Plaintiff,
) United States Magistrate Judge
v. ) Cynthia Reed Eddy
TESLA MOTORS, INC.
Defendant. )

REPORT OF RULE 26(F) MEETING

In accordance with Federal Rule of Civil Procedure 26(4), counsel for Plaintiff, Michael
T. Derzack, and Defendant, Tesla, Inc., fk/a Tesla Motors, Inc. (incorreetly captioned as Tesla
Motors, Inc, (hereinafter “Tesla”)}, conferred on August 17, 2017, and submit the following
report of their meeting for the Court’s consideration.

i. DISCUSSION OF CLAIMS, DEFENSES AND RELEVANT ISSUES

Plaintiff:

On December 9, 2015, the Plaintiff purchased a 2015 Tesla Model S. Plaintiff alleges
that he experienced defects or non-conformities, including supposed abnormal operation of
Autopilot noise in front right door panel, noise from passenger window, and the vehicle not
unlocking when approaching in the subject vehicle, giving rise to claims and damages against
this Defendant, as set forth in Counts | through HI of Plaintiff's Complaint.

Defendant:

Tesla denies the general allegations contained in Plaintiffs Complaint. Tesla further
denies that the subject vehicle contains any non-conformity or defect which substantially
impairs its use, value or safety. Additionally, Tesla denies that it breached any warranty as

alleged by Plaintiff.

 
 

 

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2. INFORMAL DISCLOSURES

The parties agree to exchange Initial Disclosures within two weeks of the Rule 26
Conference pursuant to Rule 26 (6.
3. FORMAL DISCOVERY

The parties agree to the following scheduling deadlines:

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Fact discovery end date.

 

December 21, 2017: Deadline for Plaintiffs to identify and submit curriculum
vitae and Rule 26(a)(2) expert disclosures.

 

January 25, 2018: Deadline for Defendant to identify and submit curriculum
vitae and Rule 26(a)(2) expert disclosures.

 

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‘ebruary 5, 2018: Deadline for completion of expert depositions.

‘ebruary 26, 2018: Deadline for Motions for Summary Judgment.

 

Deadline for filing Pre-Trial Motions.

 

The parties do not propose any limitations on discovery imposed under either the
Federal Rules of Civil Procedure or the local rules. The partics do not reasonably foresee any
issues relative to the preservation of electronically stored information. Each party will bear the
cost of producing electronically stored information that is reasonably accessible.

4. ELECTRONIC DISCOVERY

Counsel for the parties have met and discussed. among other issues, electronic
discovery. To the extent any discovery asks for information stored electronically, the parties
have agreed that Tesla will search those locations where responsive information will most
likely be found. At present, Tesla intends to pursue or request any electronically stored

information from Plaintiff

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5. EXPERT WITNESS DISCLOSURES
The parties agree to the following deadlines relative to expert witness disclosures,
including staggered expert report deadlines:

December 21,2017: Deadline for Plaintiffs to identify and submit curriculum

vitae and Rule 26(a)(2) expert disclosures.

January 25,2018: Deadline for Defendant to identify and submit curriculum
vitae and Rule 26(a)(2) expert disclosures.
February 5, 2018: Deadline for completion of expert depositions.
6. EARLY SETTLEMENT OR RESOLUTION

 

The parties anticipate readiness to participate in alternative dispute resolution by
November 3, 2017.
7. TRIAL DATE

The parties have requested a jury trial in this matter. The parties preliminarily estimate
that the trial will consume 2 full trial days. A trial date certain is requested given the location
of fact witnesses and possible expert witnesses expected to testify in this matter,
8. OTHER MATTERS

The parties did not discuss or agree on any additional matters not herein identified.

Kimmel & Silverman, P.C. Lavin, O'Neil, Cedrone & DiSipio

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Dated: 4

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fik/a Tesla Motors, Inc. (incorrectly

captioned as Tesla Motors, Inc.

 
 

 

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that a true and correct copy of the foregoing, Report of
Rule 26(f) Meeting was filed electronically and served the 31“ day of August, 2017, on the
following counsel of record:

Chad P. Doman, Esquire
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Michael T. Derzack
hia Electronic Filing and Email

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